                     United States District Court
                               EASTERN DISTRICT OF WISCONSIN

                                          COURT MINUTES

HON. Nancy Joseph, presiding.                                             Deputy Clerk: Karen
DATE: December 11, 2017                                                   Court Reporter:
CASE NO. 17-CR-124                                                        Time Called: 11:34:00
UNITED STATES v. Marcus Hutchins                                          Time Concluded: 11:53:08
PROCEEDING: Status/Scheduling Conference
UNITED STATES by: Michael Chmelar
ATTORNEY: Brian Klein/Marcia Hofmann/Daniel Stiller (by phone)



The court notes that a status report was filed indicating that the parties were at an impasse on some discovery
matters and the defense is requesting a briefing on the matter.

The defense notes that it will be filing a motion to compel matters such as material related to surveillance,
communications as to the co-defendant, cooperator information, etc. This information is needed in anticipation
of filing pretrial motions.

The government notes that the defendant’s requests were over broad. The government has provided as much as
possible under Rule 16(b). Any information viewed as outside that scope has not been provided.

Based on the information provided, the court will allow the defendant to file his motion to compel by 1/5/18.
The government shall file its response by 1/19/18. Any reply is to be filed by 1/26/18. Once the briefing is
completed, the court will review and, either make a ruling in writing or have the parties appear by phone and
rule on the motion at that time. The court makes a finding under the Speedy Trial Act. The period of time from
today until 1/26/18 is deemed excludable.




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